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                                 UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA
                                        TAMPA DIVISION

CIERRA WATKINS,                                       CASE NO. 8:18-CV-02370-JSM-JSS

          Plaintiff,

v.

ONEMAIN FINANCIAL GROUP, LLC,

          Defendant.
                                              /

               CONFIDENTIALITY AGREEMENT AND PROTECTIVE ORDER

          This lawsuit is currently pending, and it appears that any discovery will involve the

disclosure of personal, confidential, trade secret, proprietary, technical, business and/or financial

information (hereinafter referred to collectively as "confidential information" or "confidential

material").     Accordingly, it appearing that all of the parties agree to and consent to this

Confidentiality Agreement and Protective Order (henceforth “Order”), and for good cause, it is

further AGREED AS FOLLOWS:

          1.     All confidential information in this case shall be used solely for the purpose of

this case, including any related arbitration proceeding, and for no other purpose. In no event

shall any person receiving confidential information use it for commercial or competitive

purposes, make any public disclosure of the contents thereof, or use it in any other litigation,

other than in conjunction with prosecuting or defending this litigation.

          2.     If any answer given or document produced in response to any discovery in this

case contains any confidential information, the responding party may mark such information or

document as "CONFIDENTIAL."             Any information or document so marked shall not be




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disclosed to any person except as may be permitted by this Order. The designation of any

information as "CONFIDENTIAL" shall be made in good faith.

          3.   This Order shall not abrogate or diminish any contractual, statutory or other legal

obligation or right of any party or person with respect to confidential information.

          4.   The aforesaid designation as to documents shall be made by placing a rubber

stamp impression, label or other mark of the word "CONFIDENTIAL" on each page of the

document which the designating party wishes to designate as confidential. All documents so

designated shall be labeled prior to the transmission of a physical copy thereof to the receiving

party.

          5.   The    parties   may     designate    portions    of   deposition       testimony   as

"CONFIDENTIAL" by so designating such testimony before, during or after the deposition. If

testimony is designated as "CONFIDENTIAL," the designating party will clearly state on the

record the reason for such designation.      Simply denominating testimony as confidential is

insufficient for purposes of this Order. The designation of testimony as confidential will not

render the entire deposition as confidential. Only the specific portion of the testimony will

receive a preliminary confidential designation.      If testimony is designated as confidential

following the deposition, said designation must be made no later than 30 days after receipt of

said deposition transcripts. Any court reporter who transcribes testimony in this action at a

deposition shall agree, before transcribing any such testimony, that all "CONFIDENTIAL"

testimony is and shall remain confidential and shall not be disclosed except as provided in this

Order; the copies of any transcript, reporter's notes, or other transcription records of any such

testimony shall be retained in absolute confidentiality and safekeeping by such reporter, or

delivered to attorneys of record.




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          6.      Subject to the provisions below, information and documents designated as

"CONFIDENTIAL" shall be disclosed only to the Court and/or Arbitrator, the trier of fact, the

parties, their attorneys, witnesses or potential witnesses and persons assisting counsel. As used

herein, the term "parties" includes the parties' officers, directors and employees in a management

capacity. As used herein, the phrase "persons assisting counsel" shall mean clerks, paralegals

and secretaries in the regular employ of the parties' counsel, as well as any expert whose

technical advice is being or will be used in connection with this litigation, either in preparation

for trial or in the trial itself.

          7.      If any party or attorney for any party in this litigation desires to give, show, make

available or communicate any information or document designated "CONFIDENTIAL" by the

other party to any person, other than the Court and/or Arbitrator, the trier of fact, or a party, such

as to a person assisting counsel or to any witness, potential witness and/or expert witness, the

attorney or party shall first give a copy of this Order to such person, who shall read this Order, be

fully familiar with its provisions, and execute the attached affirmation.

          8.      Inadvertent production of any document or material without a designation of

"CONFIDENTIAL" will not be deemed to waive a party's claim as to its confidential nature or

estop the party from so designating the particular document or material as confidential at a later

date. Disclosure of such document or material by any party prior to such designation, however,

shall not be deemed in violation of the provisions of this Order.

          9.      The Order shall not, in itself, be construed to waive any applicable privilege,

work-product protection, or other protection or to affect the ability of a party to seek relief for an

inadvertent disclosure of material protected by privilege, work-product protection, or other

protection.




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          10.   With respect to any information or document, or portion thereof, which has been

designated "CONFIDENTIAL," any party may at any time serve a written notice of objection to

such designation. Counsel shall attempt to resolve the dispute informally. If no agreement can

be reached, counsel may move the Court and/or Arbitrator for an order denying confidential

treatment to the documents or information in question. If such a motion is filed, the documents

and/or information shall be kept confidential pending a ruling on the motion. The party asserting

confidentiality has the burden to prove that the documents and/or information deserve such

treatment.

          11.   Before filing any information that has been designated "CONFIDENTIAL" with

the court and/or arbitration tribunal, or any pleadings, motions, or other papers that disclose any

such information, counsel shall confer with counsel for the party that produced the information

so designated about how it should be filed. If the party that produced the information so

designated desires that the materials be filed under seal, then the filing party shall file the

materials with notice served upon the producing party. The filing of the materials under seal

shall not be binding, however. Within 10 days of service of such notice, the party desiring that

the materials be maintained under seal shall file with the court and/or arbitration tribunal a

Motion to Seal the documents designated "CONFIDENTIAL."

          12.   After the termination of this action, the restrictions on communications and

disclosures provided for herein shall continue to be binding upon the parties and upon all of the

persons to whom documents, answers to interrogatories, deposition transcripts or other items of

discovery designated as "CONFIDENTIAL" or material contained herein have been

communicated or disclosed pursuant to the provisions of this Order or any other order of the

Court and/or Arbitrator. Further, all documents designated as "CONFIDENTIAL," including all




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copies which may have been disclosed to expert witnesses, shall be returned to the party

producing it or destroyed.

          13.   This Order is intended to provide a mechanism for the handling of confidential

documents and information. It is not intended by the parties to act as a waiver of the right to

object to any disclosure of information or production of any documents they deem confidential

on any grounds they may deem appropriate, including, without limitation, confidentiality,

relevance or privilege. Further, the provisions of this Order shall not affect the admissibility of

evidence at the trial or any preliminary evidentiary proceeding, except as directed by separate

order entered for good cause shown.

          14.   This Order may be submitted to the Court and/or Arbitrator for signature as an

Order. Notwithstanding the foregoing, the failure to submit this Order to the Court and/or

Arbitrator to be “so entered” shall not impair or defeat the effectiveness or binding nature of this

Order as an agreement between the parties. Likewise, the failure of the Court and/or Arbitrator

to adopt the Order shall not impair or defeat the effectiveness or binding nature of this Order as

an agreement between the parties.

          15.   Nothing in this Order shall preclude any of the parties from otherwise seeking a

modification of this Order.



                         [SIGNATURES ON FOLLOWING PAGES]




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Agreed to this 30th day of October, 2018.   Agreed to this 30th day of October, 2018.

/s/David A. Elliott                         /s/Kaelyn Steinkraus
David A. Elliott, Esq.                      Kaelyn Steinkraus, Esq.
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ATTORNEYS FOR DEFENDANT,                    ATTORNEY FOR PLAINTIFF,
ONEMAIN FINANCIAL GROUP, LLC                CIERRA WATKINS



Dated and Entered: December 11, 2018




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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

CIERRA WATKINS,                                   CASE NO. 8:18-CV-02370-JSM-JSS

          Plaintiff,

v.

ONEMAIN FINANCIAL GROUP, LLC,

          Defendant.
                                           /

                                      AFFIRMATION

          The undersigned hereby affirms that the undersigned has read and understands the

Confidentiality Agreement and Protective Order dated __________, 2018; is and hereby does

become a party to such Confidentiality Agreement and Protective Order; and agrees to abide by

the terms thereof. This affirmation and agreement is being made to induce the parties to said

actions to make available to the undersigned certain items designated as "CONFIDENTIAL."

          Done this ______ day of ___________, 20___.


Name


Signature




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